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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                               4:24CR3012

      vs.
                                                              ORDER
TIMOTHY H. MAISNER,

                   Defendant.


       Defendant has moved to continue the pretrial motion deadline, (Filing No.
22), because Defendant and defense counsel need additional time to fully review
the discovery. The motion to continue is unopposed. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:


      1)    Defendant’s motion to continue, (Filing No. 22), is granted.

      2)    Pretrial motions and briefs shall be filed on or before March 22, 2024.

      3)    The conference call previously scheduled to be held on March 1,
            2024, is continued. A telephonic conference with counsel will be held
            before the undersigned magistrate judge at 9:45 a.m. on March 28,
            2024 to discuss setting any pretrial motion hearing needed, a change
            of plea hearing, or the date of the jury trial and deadlines for disclosing
            experts as required under Rule 16. Counsel for all parties shall use
            the conferencing instructions provided by the court to participate in
            the call.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, the time between today’s date and March 28, 2024 shall be
            deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act, because although counsel have
            been duly diligent, additional time is needed to adequately prepare
            this case for trial and failing to grant additional time might result in a
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          miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7). Failing to
          timely object to this order as provided under this court’s local rules will
          be deemed a waiver of any right to later claim the time should not
          have been excluded under the Speedy Trial Act.

    Dated this 22nd day of February, 2024.

                                            BY THE COURT:

                                            s/ Jacqueline M. DeLuca
                                            United States Magistrate Judge
